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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                     §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                §    Civil Action No. 4:21-cv-01236-O
                                                   §
 LLOYD J. AUSTIN, III, et al.,                     §
                                                   §
         Defendants.                               §

                        ORDER & AMENDED SCHEDULING ORDER

         Before the Court is the Unopposed Motion to Modify the Scheduling Order (ECF No. 217),

filed January 27, 2023. The Court also takes notice that the Parties have concurrently filed their briefs

on mootness with the Fifth Circuit and with this Court. See ECF Nos. 218, 219-1.

         The Unopposed Motion to Modify the Scheduling Order (ECF No. 217) is hereby GRANTED

in part and DENIED in part. The trial date will remain unchanged, but the Court finds good cause

to AMEND the May 24, 2022 Scheduling Order (ECF No. 158) as follows:

  Initial Expert Designation & Report                         February 28, 2023
  Responsive Expert Designation & Report                      March 17, 2023
  Rebuttal Expert Designation                                 14 days after disclosure made by
                                                              other party
  Expert Objections                                           May 15, 2023
  Dispositive Motions                                         April 28, 2023
  Mediation                                                   March 31, 2023
  Completion of Discovery                                     April 21, 2023
  Pretrial Disclosures and Objections                         May 10, 2023. Objections due 14
                                                              days thereafter.
  Pretrial Materials (pretrial order etc.)                    May 25, 2023
  Exchange of Exhibits                                        June 5, 2023
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       Some of these listed deadlines have not been amended, but the Court provides them here

collectively for the convenience of the Parties. All other deadlines not specified here remain

unchanged.

       Plaintiffs also request the Court to appoint a mediator for this dispute. United States

Magistrate Judge Cureton is hereby APPOINTED to mediate this case. The Parties shall contact him

directly to arrange for mediation on, or before, March 31, 2023.

        Furthermore, in their Fifth Circuit brief on mootness, the government asserts, “The United

States also intends to seek dismissal of the entire case as moot in the district court.” See Government’s

Fifth Circuit Brief on Mootness 8, ECF No. 219-1. The government SHALL file their assertion of

mootness no later than February 6, 2023. Plaintiffs SHALL have seven (7) days to file their

response, and the government SHALL file its reply seven (7) days thereafter.

       SO ORDERED on this 30th day of January, 2023.




                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE
